        Case 2:18-cv-00039-SAB   ECF No. 16    filed 08/23/18   PageID.94 Page 1 of 2



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 3                                                                         FILED IN THE
                                                                       U.S. DISTRICT COURT
                                                                 EASTERN DISTRICT OF WASHINGTON
 4
 5                                                                Aug 23, 2018
                                                                      SEAN F. MCAVOY, CLERK

 6                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA, for the               NO. 2:18-cv-00039-SAB
 9 use and benefit of BARNHART CRANE
10 AND RIGGING CO., a Tennessee                    ORDER DISMISSING CASE
11 corporation,
12                Plaintiff,
13                vs.
14 DIX CORPORATION, a Washington
15 corporation; and FIDELITY AND
16 DEPOSIT COMPANY OF MARYLAND
17 (Bond No. 9216357), a Maryland
18 corporation,
19                Defendants.
20
21         Before the Court is the parties’ Stipulation of Dismissal, ECF No. 15. The
22 parties stipulate and request the Court dismiss this matter with prejudice, and
23 without costs to any party. Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and the joint
24 wishes of the parties, the Court finds good cause to accept the stipulation and enter
25 it into the record.
26 //
27 //
28 //


     ORDER DISMISSING CASE+ 1
      Case 2:18-cv-00039-SAB       ECF No. 16    filed 08/23/18   PageID.95 Page 2 of 2



 1          Accordingly, IT IS HEREBY ORDERED:
 2          1. The parties’ Stipulation of Dismissal, ECF No. 15, is ACCEPTED and
 3 ENTERED into the record.
 4          2. This matter is DISMISSED with prejudice and without costs to any
 5 party.
 6          3. Any pending motions are dismissed as moot.
 7          4. The trial date and any remaining pretrial deadlines are stricken
 8          IT IS SO ORDERED. The District Court Clerk is hereby directed to enter
 9 this Order, to provide copies to counsel, and close this file.
10          DATED this 23rd day of August 2018.
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17                                                  Stanley A. Bastian
18                                              United States District Judge
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     ORDER DISMISSING CASE+ 2
